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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

UNITED STATES OF AMERICA

v.                                                 NO. 3:19-CR-327-M

OMER KUZU


           JOINT MOTION TO HAVE CASE DECLARED
 COMPLEX AND TO CONTINUE TRIAL DATE AND PRETRIAL DEADLINES

       The United States of America and the defendant, Omer Kuzu respectfully move to

have this case declared complex under the provisions of 18 U.S.C. § 3161(h)(7)(A) and

(B)(ii) and to continue all pretrial deadlines and the trial date in this case. The

government and the defense request that the Trial Setting Order be vacated, that the

current trial date of October 7, 2019 be continued, and that a status conference be set on

the aforementioned date. In support, the parties provide the following:

                                        Background

       1.     The defendant is charged with conspiring to provide material support to the

Islamic State of Iraq and al-Sham (ISIS). (Dkt. 5). As alleged in the criminal complaint,

the defendant traveled to Syria and, consequently, this case involves conduct occurring

both inside and outside of the United States. (Dkt. 1). The international nature of the

case renders this matter an unusual case involving complex legal and factual issues.

       2.      Moreover, as observed in the Government’s Memorandum of law

Regarding the Classified Information Procedures Act, 18 U.S.C. App. 3 (CIPA), matters


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relating to classified information may arise in connection with this case. (Dkt. 20). As

set forth below, this fact, particularly when joined with the international nature of the

case, causes this matter to fit squarely within the definition of a complex case under the

terms of the Speedy Trial Act, 18 U.S.C. § 3161, et. seq.

             Declaring the Case Complex and Justification for Continuance

        3.     Pursuant to 18 U.S.C. § 3161(h)(7)(A), the Court can grant an “ends of

justice” continuance at the request of a defendant, defense counsel, or the Government if

the Court does so on the basis of the finding “that the ends of justice served by taking

such action outweigh the best interest of the public and the defendant in a speedy trial.”

Among the factors the Court may consider in granting an “ends of justice” continuance

are “[w]hether the case is so unusual or so complex, due to the number of defendants, the

nature of the prosecution, or the existence of novel questions of fact or law, that it is

unreasonable to expect adequate preparation for pretrial proceedings or for the trial itself

within the time limits established by this section.” 18 U.S.C. § 3161(h)(7)(B)(ii).

        4.     This case is “complex” within the meaning of the Speedy Trial Act, 18

U.S.C. § 3161(h)(7)(B)(ii), due to the nature of the prosecution, specifically, the

international nature of the case coupled with the need to address certain matters under

CIPA.

        5.     The Government will soon be producing discovery material to the defense,

which will, of course need to be carefully reviewed by the defense. The Government

anticipates that CIPA litigation may be needed to complete the discovery process. The



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international nature of the case and the anticipated CIPA litigation make an October 7,

2019 trial unrealistic for both the defense and the Government.

       6.     The Government will endeavor to accelerate the production of the

discovery material as much as feasible. As production occurs, defense counsel will need

time to review and assess the information and documents to prepare for trial. The

defense will also need time to conduct its own investigation based upon the information

contained in the produced materials.

       7.     Based on the foregoing information, the parties request that the Court issue

a written order finding that (1) the ends of justice served by the granting of a trial

continuance outweigh the best interests of the public and the defendants in a speedy trial;

(2) the case is so complex within the meaning of 18 U.S.C. § 3161(h)(7)(B)(ii) that it is

unreasonable to expect adequate preparation for pretrial or trial proceedings can take

place within the time limits of 18 U.S.C. § 3161; and (3) a continuance of the trial date

for the duration set forth in this motion is therefore necessary. The government and the

defense further requests that the Court vacate the current trial setting and pretrial

deadlines, and set a status conference for October 7, 2019 to determine both a trial date

and schedule for pre-trial motions and litigation.




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                                           Respectfully submitted,

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                            CERTIFICATE OF CONFERENCE

          On August 12, 2019, I conferred with counsel for the defendant, and they

indicated that they join this motion and are therefore, not opposed to the relief requested

herein.

                                             s/ Tiffany H. Eggers
                                             TIFFANY H. EGGERS
                                             Assistant United States Attorney

                                CERTIFICATE OF SERVICE

          I hereby certify that on August 12, 2019, I electronically filed the foregoing

document with the clerk for the U.S. District Court, Northern District of Texas, using the

electronic case filing system of the court. The electronic case filing system sent a

“Notice of Electronic Filing” to the attorneys of record who have consented in writing to

accept this Notice as service of this document by electronic means.


                                             s/ Tiffany H. Eggers
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